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OFFICE FOR DIVERSITY




TO:                 Deans

FROM:               Annie McGown
                    Vice President and Associate Provost for Diversity

                    N. K. Anand
                    Vice President for Faculty Affairs

DATE:               July 8, 2022

SUBJECT: New ACES Plus Fellowship

Effective July 1, 2021, Texas A&M was officially recognized as a Hispanic Serving Institution (HSI) by
the United States Department of Education. As an HSI, Texas A&M is charged with expanding the capacity
of low-income, first-generation Hispanic students, and other underserved students and their communities.
Increasing opportunities for underserved students to interact and engage with faculty that share their ethnic,
life, and cultural experiences are essential to achieving this goal. The presence of faculty of color is also
integral to the University’s mission to provide the highest quality of undergraduate and graduate education
and develop new understandings through research and creativity.

ACES Plus was created to ensure promising faculty to come to Texas A&M. For the FY 23 and FY 24, the
VP for Faculty Affairs will allocate a sum of $2 million for the ACES Plus Program. The funds will be used
to provide 50% matching base salary and benefits, up to a maximum contribution of $100,000 (salary and
fringe) for new mid-career and senior tenure-track hires from underrepresented minority groups, that
contribute to moving the structural composition of our faculty towards parity with that of the State of Texas.
Consistent with our land-grant mission, and as defined NIH policy, Texas A&M defines URMs as African
Americans, Hispanic/Latino Americans, Native Americans, Alaskan Natives, and Native Hawaiians.

Submitting Requests:
If a candidate has been identified, submit their CV along with brief descriptions of research, teaching,
service, and commitment to serving underrepresented and socio-economically disadvantaged populations.
Additionally, please submit a proposal justifying how the proposed hire fulfills the strategic priorities
outlined below:

• Hires that significantly advance campus goals and our land-grant mission for a demographic composition
that represents the State of Texas.
• Hires who have demonstrated knowledge, expertise, and commitment to supporting our student body (e.g.,
student mentoring, teaching, service).
• Hires that will expand the capacity of Texas A&M University to more effectively serve students of color
and low-income students, and thereby maintain HSI eligibility. The candidates must clearly communicate
how their commitment to enhancing opportunities for underserved populations may benefit Texas A&M
University.


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The goal of each proposal should be to identify positive and transformational effects on the research,
teaching, and service missions of the campus. The proposal should also detail how the funding will fulfill
the overall goal of increasing the tenure-track faculty cohort and include a mentoring plan. The proposal
should be signed by all participating department heads or program directors and routed through the deans
of each participating college. Please limit proposals to two pages. Decisions on funding will be made by
the Vice President for Faculty Affairs with input from the Office for Diversity.

C: M. K. Banks, President
Timothy Scott, Interim Provost
Michelle Mitchell, Assistant Vice President for Finance
